Case 2:23-cv-01176-MCA-SDA             Document 46      Filed 01/16/25      Page 1 of 1 PageID: 278




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   TYHESIA HOUSTON,
                                                             Civil Action No. 23-1176(MCA)
                         Plaintiffs,
                                                                          ORDER
   v.
   UNITED STATES OF AMERICA, et al.,
                         Defendants.


         THIS MATTER comes before the Court by way of hits own Order to Show Cause as to

  why the Complaint of Plaintiff Tyhesia Houston should not be dismissed for Plaintiff’s repeated

  failure to comply with this Court’s Orders and/or failure to prosecute, ECF No. 42;

         and it appearing that Judge Adams issued a Report and Recommendation dated October

  22, 2024, in which Judge Adams recommended that this Court dismiss Plaintiff’s Amended

  Complaint with prejudice for failure to prosecute pursuant to Federal Rule of Civil Procedure

  41(b), ECF No. 44; and

         it appearing that neither Defendant nor Plaintiff have filed any objections to the Report and

  Recommendation; and

         it appearing that for the reasons set forth in Judge Adams’s Report and Recommendation;

         IT IS on this 16th day of January, 2025,

         ORDERED that Judge Adams’s Report and Recommendation dated October 22, 2024 is

  ADOPTED and this matter is dismissed with prejudice and shall be CLOSED.

                                                       s/ Madeline Cox Arleo__________
                                                       Hon. Madeline Cox Arleo
                                                       United States District Judge
